IN THE CIRCUIT COURT OF CAMDEN COUNTY, MISSOURI

STACY MILLER, individually, and as ) pga ’55 1137
Plaintiff ad Litem on behalf of )
decedent Alan Miller, )
4700 Millbrook Drive )
Columbia, MO 65203 )
)
Plaintiff, ) Case No. M[I[
)
v. ) Division No.
)
LAKE REGIONAL HEAL'I`H )
SYSTEM )
Serve Registered Agen`t at: )
Michael E. Henze )
54 Hostpital Drive )
Osage Beach, MO 65065, )
)
and )
)
GEORGE A. “TGNY” KOCH, D.O. )
Serve at: )
Lake Regional Health System )
54 Hospital Drive )
Suite 203 - Hospitalist )
Osage Beach, MO 65065 )
)
and )
)
LAKE INTERNAL MEDICINE )
SPECIALISTS, INC. )
Serve Registered Agent at: )
M. David East, D.O )
980 Executive Drive Suite D )
Osage Beach, MO 65065, )
)
and )
)
M. DAVID EAST, D.O. )
Serve at: )
Lake Internal Medicine )
Specialists, Inc. )
980 Executive Drive Suite D )
Osage Beach, MO 65065, )
)

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Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 1 of WXH[BIT 3

and

CENTRAL OZARKS MEDICAL
CENTER
Registered agent unknown

and

DANIEL SCHMIDT, M.D.

Serve at:
Central Ozarks Medical Center
304 W. Washington
Richland, MO 65065

VVVVVVVVVVVVVVV

Defendants.
PLAINTIFF’S PETITION FOR DAMAGES
COMES NOW plaintiff Stacy Miller, individually, and as Plaintiff ad Litem on behalf of
decedent Alan Miller, by counsel, and for her cause of action against defendants hereby allege
and state as follows:

PLAINTIFF STACY MILLER, INDIVIDUALLY, AND AS PLAINTIFF AD LITEM ON
BEHALF OF ALAN MILLER

1. At the time of the negligent acts complained of herein and at all times mentioned,
plaintiff Stacy Miller has been an adult over eighteen years of age and a resident of Columbia,
Boone County, Missouri.

2. At the time of the negligent acts complained of herein and at all times mentioned,
plaintiff Stacy Miller has been the spouse of decedent Alan Miller.

3. Stacy Miller is a proper party to bring this lawsuit on behalf of decedent Alan
Miller pursuant to RSMo. § 537.021, as if he had lived, as Stacy Miller has been appointed
Plaintiff ad Litem on behalf of decedent Alan Miller. Stacy Miller is also in the class of persons

authorized by RSMo. § 53 7.080 to assert a claim for the Wrongful death of Alan Miller.

2
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 2 of 13

DEFENDANT LAKE REGIONAL HEALTH SYSTEM

4. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant Lake Regional Health System (hereinafter “defendant Hospital”) has
been a Missouri corporation duly organized and existing under the laws of the State of Missouri
and engaged in operating a facility where persons afflicted with illness and disease such as that
evidenced by decedent Alan Miller are rendered care in exchange for consideration paid by
them. Defendant Hospital also provides medical services in the form of the collection, testing
and reporting of laboratory specimens and results and performed such laboratory function for
laboratory tests/results of Mr. Miller.

DEFENDANT GEORGE A. “TONY” KOCH, D.O.

5. At the time of the negligent acts complained of herein and at all times mentioned,
defendant George A. “Tony” Koch, D.O. (hereinafter “defendant Koch”) has been a licensed
physician in the practice of internal medicine representing and holding himself out to the public
and, in particular, to decedent Alan Miller as Such.

6. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Koch was an employee and/or agent of defendant Hospital.

DEFENDANT LAKE INTERNAL MEDICINE SPECIALISTS, INC.

7. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant Lake Intemal Medicine Specialists, lnc. (hereinafter “defendant
Lake Interna ”) has been a Missouri corporation duly organized and existing under the laws of
the State of Missouri and engaged in operating a facility where persons afflicted with illness and
disease such as that evidences by decedent Alan Miller are rendered care in exchange for

consideration paid by them.

3
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 3 of 13

DEFENDANT M. DAVID EAST, D.O.

8. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant M. David East, D.O. (hereinafter “defendant East”) has been a
licensed physician in the practice of internal medicine representing and holding himself out to
the public and, in particular, to decedent Alan Miller as such.

9. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant East was an employee and/or agent of defendant Lake Intemal.
DEFENDANT CENTRAL OZARKS MEDICAL CENTER

10. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant Central Ozarks Medical Center (hereinafter “defendant Central
Ozarks”) has been a facility where persons afflicted with illness and disease such as that
evidences by decedent Alan Miller are rendered care in exchange for consideration paid by them.
DEFENDANT DANIEL SCHMIDT, M.D.

ll. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant Daniel Schmidt, M.D.. (hereinafter “defendant Schmidt”) has been a
licensed physician in family practice representing and holding himself out to the public and, in
particular, to decedent Alan Miller as such.

12. At the time of the negligent acts and occurrences complained of herein and at all
times mentioned, defendant Schmidt was an employee and/or agent of defendant Central Oza.rks.
VENUE AND JURISDICTION

13. Venue and Jurisdiction are proper in this court pursuant to R.S.Mo. § 508.010.6 as
this action arises from negligent conduct occurring in Osage Beach, Camden County, Missouri.

AGENCY

4
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 4 of 13

14_ At the time of the occurrences complained of herein, defendant Hospital was
acting by and through its actual or apparent agents and employees, including but not limited to
nurses, allied health care staff and defendant Koch, in providing medical care and treatment to
decedent Alan Miller.

15. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Hospital’s actual and apparent agents and employees, including but not limited to
nurses, laboratory personnel, individuals responsible for communicating the result of laboratory
results, other allied health care staff and defendant Koch, were acting within the course and
scope of their employment in providing medical care to decedent Alan Miller.

16_ At the times of the occurrences complained of herein, defendant Lake Intemal
was acting by and through its actual or apparent agents and employees, including but not limited
to defendant East, in providing medical care and treatment to decedent Alan Miller.

17. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Lake lntemal’s actual and apparent agents and employees, including but not limited to
defendant East, were acting within the course and scope of their employment in providing
medical care to decedent Alan Miller.

18. At the time of the occurrences complained of herein, defendant Central Ozarks
was acting by and through its actual or apparent agents and employees, including but not limited
to defendant Schmidt, in providing medical care and treatment to decedent Alan Miller.

19. At the time of the negligent acts complained of herein and at all times mentioned,
defendant Central Ozarks’ actual and apparent agents and employees, including but not limited
to defendant defendant Schmidt, were acting within the course and scope of their employment in

providing medical care to decedent Alan Miller.

5
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 5 of 13

FACTS OF THE OCCURRENCE

20. On February 28, 2005 Alan Miller was hospitalized at Lake Regional Hospital for
cough, dyspnea, headaches and an abnormal CT scan of his chest.

21. Prior to this hospitalization Mr. Miller had reported allergy symptoms and had
seen his pulmonologist, who reported a negative examination

22. lt was noted by Dr. O’Neil, the admitting family practitioner at Lake Regional
Hospital, that in the preceding 2 l/2 months Mr. Miller had undergone a 25 pound unintentional
weight loss and that he had been Suffering from severe headaches, decreased appetite, difficulty
breathing and a dry cough.

23. A bronchoscopy was performed by Dr. East and multiple transbronchial biopsies

were obtained from Mr. Miller’s right lower lobe.

24. The biopsy was not cultered for fimgus, nor was the pathology specimen stained
for fungus.
25. No formal bronchoalveolar lavage was performed and no pulmonary function

tests were performed to note changes in lung function.

26. Serologic studies were ordered by Dr. Koch on March l, 1005. They were
positive by complement fixation for histoplamosis at a titer of 1:32.

27. Dr. Bordon, a Rheumatology consultant, saw Mr. Miller on March l, 2005 and
opined that one should, “rule out infectious causes such as fungal or tuberculosis infection.”

28. Pathologist Haas, in reviewing the bronchial lung biopsies added a cautionary
comment, “COMMENT: While the findings are consistent with a diagnosis of sarcoidosis, this

is a diagnosis of exclusion. Clinical correlation is recommended.”

6
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 6 of 13

29. Mr. Miller was not informed that his lab results were positive for histoplasmosis
and he was discharged from the Hospital on March 2, 2005.

30. Mr. Miller saw Dr. Kahn, an endocrinologist, on March 10 and 15, 2005. Dr.
Kahn placed him on replacement doses hydrocortisone 20mg AM/ lOmg PM for “apparent”
adrenal insufficiency of unknown cause.

31. Because his symptoms persisted Mr. Miller sought treatment from University
Hospital (“UH”) in Columbia, Missouri on March 21, 2005.

32. While at UH Mr. Miller Was evaluated by an endocrinologist who suggested that
the cause of the adrenal failure might be histoplasmosis. No follow-up was made with respect to
this consultation

33. On March 22, 2005 Dr. Daniel Schmidt, a farnin practitioner working with Mr.
Miller’s primary care physician, Dr. O’Neil, contacted Dr. Koch, Dr. Schmidt was advised by
Dr. Koch that “given the diagnosis of sarcoid” to start prednisone 40 mg/day x 3 weeks then 30
mg qd for 3 weeks.

34. Despite the fact that Mr. Miller actually had histoplasmosis and not sarcoidosis,
and the diagnosis of “exclusion” had clearly not ruled out histoplasmosis, Dr. Schmidt abided by
and carried out these instructions.

35. With immunosupression therapy from high dose corticosteroids, Mr. Miller’s
condition degraded over the following week. On March 30, 2005 Mr. Miller saw Dr. Kahn who
recognized Miller’s critical physical condition and made a direct admission to the Hospital.

36. Mr. Miller was admitted to the Hospital on March 30, 2005. He quickly

deteriorated mentally. The diagnosis of sarcoidosis was repeatedly mentioned in the various

7
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 7 of 13

progress notes despite the prior positive adrenal biopsy for histoplasmosis, and multiple cerebral
infarcts.

37. Throughout his treatment by the various doctors referenced herein no one was
made aware of Mr. Miller’s positive laboratory results of histoplasmosis

38. The administration of steroids for the treatment of sarcoidosis, which Mr. Miller
did not have, accelerated the histoplasmosis causing it to advance untreated. The histoplasmosis
ultimately caused Mr. Miller’S death.

COUNT I
(Wrongful Death)

COMES NOW plaintiff Stacy Miller, by counsel, and pursuant to RSMo. § 537.080,
hereby states and alleges in support of their cause of action for Wronng death against
defendants as follows:

39. Plaintiff incorporates by reference the allegations in paragraphs l through 38
above.

40. Alan Miller died on December 28, 2005.

41. Defendant East and defendant Lake Intemal were negligent in the medical care

and treatment of decedent in the following respects:

l. Failing to consider and establish the negativity of infectious
diseases;
2. F ailing to recognize other potential infectious processes;
3. Negligently assuming a diagnosis of sarcoidosis;
4. Failing to obtain an adequate lung specimen to get a diagnosis;
5. F ailing to follow-up on fungal studies ordered during the
hospitalization;
8

Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 8 of 13

Negligently ordering laboratory studies and/or not following up on
the result(s);

F ailing to properly investigate the cause of Mr. Miller’s symptoms
and to properly and timely diagnose and treat Mr. Miller’s
histoplasmosis;

Such other instances of negligence or breached of the standard of

care as shall become apparent during the course of discovery.

43. Defendant Koch and defendant Hospital were negligent in the medical care and

treatment of decedent in the following respects:

l.

2.

Failing to rule out a lethal infectious process;

Negligently assuming a diagnosis of sarcoidosis;

Failing to follow-up on the results of critical studies and laboratory
work;

Failing to order additional studies to establish a proper diagnosis of
histoplamosis;

Advising the initiation of the administration of corticosteroids in a
high and immunosupressive dose which precipitated further
dissemination of the infection, causing the death of Mr. Miller.
Failing to order antifungal medication despite the clear clinical
indications for such therapy;

F ailing to ensure that Mr. Miller’s laboratory results were properly

and timely reported to the appropriate health care providers;

9

Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 9 of 13

Such other instances of negligence or breached of the standard of

care as shall become apparent during the course of discovery.

44. Defendant Schmidt and defendant Central Ozarks were negligent in the medical

care and treatment of decedent in the following respects:

l.

F ailing to rule out a lethal infectious process;

2. Negligently assuming a diagnosis of sarcoidosis;

3. Failing to follow-up the results of critical studies and laboratory
work;

4. Failing to order additional studies to establish a proper diagnosis of
histoplamosis;

5. Ordering corticosteroids in a high and immunosupressive
dose which precipitated further dissemination of,the infection, and
caused the death of Mr. Miller.

6. Failing to order antifungal medication despite the clear clinical
indications for such therapy;

7. Such other instances of negligence or breached of the standard of
care as shall become apparent during the course of discovery.

45. Mr. Miller’s death was the direct and proximate result of the negligence of the

Defendants, and each of them, and as a result of the negligence of Defendants, and each of them,

Mr. Miller’s life was shortened and such negligence caused Mr. Miller’s death on December 28,

2005.

46. As a direct and proximate result of the negligence of Defendants, and each of

them, Mr. Miller suffered and endured significant physical and mental pain and suffering

10

Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 10 of 13

47. As a direct and proximate result of the negligence of Defendants, and each of
them, Plaintiff Stacy Miller and the heirs of Alan Miller have sustained the following darnages:
a. They have endured mental anguish, suffering, and bereavement;

b. They have suffered the loss of Mr. Miller’s economic support and household

services;
c. The have suffered the loss of Mr. Miller’s society, companionship, and comfort;
d. The have suffered the loss of Mr. Miller’s parental care, training, guidance, and

education, and;
e. They have sustained hineral expenses for Mr. Miller.
48. As a direct and proximate result of the Defendant’s negligence, Plaintiff Stacy
Miller is entitled to those damages set forth in the preceding paragraph.
WHEREFORE, Plaintiff Stacy Miller prays for judgment on Count I of her Petition against
the Defendants and each of them, jointly and severally, for a sum that is fair and reasonable, for
her costs incurred, and for such other relief deemed appropriate by the Court.

@_U.NH
(Lost Chance of Survival v. All Defendants)

49. Plaintiff ad litem incorporates by reference the allegations in paragraphs l
through 48 above.

50. Decedent died on December 28, 2005.

51. At the time of Defendants’ negligence, decedent Alan Miller had a material and
statistically significant chance for survival.

52. As a direct and proximate result of the Defendants’ negligence, decedent Alan
Miller was deprived of his material chance for survival.

53. As a direct and proximate result of the Defendants’ negligence, Plaintiff ad litem

Stacy Miller is entitled to all of those damages set forth in the preceding count.

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Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 11 of 13

WHEREFORE, Plaintiff ad litem Stacy Miller prays for judgment against the Defendants
and each of them, jointly and severally, in Count ll of the Petition for an amount that is fair and
reasonable, for her costs incurred herein, and such other relief deemed appropriate by the Court.

JURY TRIAL

Plaintiff requests trial by jury on all counts of this Petition.

 

Respectfully Submitted,

GOZA & HONNOL
/ / /

By' // /W
Kirk Goza / Mo #32475
Bradley Honnold MO #39818
Roger Nail MO #47534
11150 Overbrook Rd. Suite 250
Leawood, KS 66211

(816) 512-2171

(816) 512-2172 Facsimile
k oza ohonlaw.com
bhonnold@gohonlaw.com

mail@gohonlaw.corn
ATTORNEYS FOR PLAINTIFFS

12
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 12 of 13

l.\l ll lE 26TH JUDlClnL ClRCUIT CUURT, CAMDEN COoNTY, MISSOURI

 

 

 

 

 

 

 

Judge or Division: Case Number: 07CM-CC00061
Plaintiff/Petitioner: Plaintiff's/Petitioner’s Attomey/Address
ROGER DEAN NAIL Jr
l l 150 OVERBROOK RD
STE 250
vs. LEAWOOD, KS 66211
Dcfendant/Respondent: COllrt Addr€SSZ
LAKE REGIONAL HEALTH SYSTEM CAMDEN COUNTY COURTHOUSE
Nature of Suit: ;§I(?IEI;T CR
CC Wrongful Death CAMDENTON, Mo 65020 (Dareni¢samp)

 

Summons in Civil Case

 

The State of Missouri to: DANIEL SCHMIDT M.D.

Alias:
304 W WASHlNGTON
R]CHLAND, MO 65556
COURTSEAL 0F You are summoned to appear before this court and to tile your pleading to the petition, a copy of

which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the

above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to

tile your p|e ing, ’ dgment by default may be<ta\kez;against you for the re 'ef demanded in the petition.
22,

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CAMDEN COUNTY Further lnformation:

 

 

Sheriff’s or Server’s Return
Note to serving officer: Summons should be returned to the court Within thirty days after the date of issue.
l certify that I have served the above summons by: (check one)

I:I delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent With

a person of the Defendant’s/Respondent’s family over the age of 15 years.
|:l (for service on a corporation) delivering a copy of the summons and a copy of the petition to

 

 

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
E] other
Served ar (address)
in (County/City of St. Louis), MO, on (date) at_______(time).
Pr~inted Name of Sheriti" or Server Signature of Shen'ff or Server
Must be sworn before a notary public if not served by an authorized officer:
S .
(Seal) ubscnbed and sworn to before me on (date).
My commission expires:
Datc Notary Public
Sherifl’s Fees, if applicable
Summons $
Non Est $
Mileage $ ( miles @ $ . per mile)
'l`otal $

A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
suits, see Supreme Court Rule 54

 

 

OSCA (7-99) SM30 (SMCC) For Court L'se Only: Document ld # 07-SMCC-457 l of l Civil Procedure Forxn .\Jo. l. Rules 54.01 - 54.05,

54.13, and 54.20; 506.120 ~ 506. 140, and 506.150 RSMo
Case 2:07-cv-O4088-SOW Document 1-3 Filed 05/02/07 Page 13 of 13

 

